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 6
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 7   YURI DOERING
 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
11   YURI DOERING,                                     Case No.: 2:24-cv-00690 WLH (Ex)
12
                  Plaintiff,                           NOTICE OF VOLUNTARY
13                                                     DISMISSAL OF ENTIRE ACTION
           vs.                                         WITHOUT PREJUDICE
14
15   CARLOS DIAZ D/B/A DANNY
     BARBER SHOP; and DOES 1 to 10,
16
                  Defendants.
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18
19         PLEASE TAKE NOTICE that YURI DOERING (“Plaintiff”) pursuant to Federal
20   Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire action
21   without prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22   provides in relevant part:
23
           (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
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28


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        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: April 12, 2024                 SO. CAL. EQUAL ACCESS GROUP
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 9
10                                         By:       /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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       NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
